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From: Pat Noonan
Sent: Thursday, March 26, 2020 9:04 PM
To: 'Jakub Madej (j.madej@lawsheet.com)' <j.madej@lawsheet.com>
Subject: Your text message

Hi Jakub,
In response to your text message earlier today, I learned that your Yale email was mistakenly turned off, and it was
restored several hours ago. Please let me know if you are having difficulty. In the future, it would be best to
communicate by email, since I tend not to check text messages during work hours.
Pat

Please be advised that I will be intermittently working from home. My cell phone number is in my signature
below.

Patrick M. Noonan
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Guilford, CT 06437
(203)457‐5209(direct)
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